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 9
10     Counsel for Defendant Julie Carrigan
       in her individual capacity
11
                       IN THE UNITED STATES DISTRICT COURT
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                               Case No. 2:22-cv-02383-SSS-AS
14
       URI MARCUS, et al.,                     NOTICE OF MOTION AND
15                                             MOTION OF DEFENDANT JULIE
16     Plaintiffs,                             CARRIGAN, IN HER INDIVIDUAL
                                               CAPACITY, TO EXTEND
17                                             DEADLINE FOR RESPONDING TO
             v.
18                                             FIRST AMENDED COMPLAINT,
       CENTERS FOR DISEASE                     WITH MEMORANDUM IN
19     CONTROL & PREVENTION, et al.,           SUPPORT
20                                             The Honorable Sunshine Suzanne Sykes
       Defendants
21                                             United States District Judge
22                                             Hearing Date: December 8, 2023
                                               Hearing Time: 2:00 p.m.
23
24                                             Courtroom 2 (2d Fl.), 3470 Twelfth
25                                             Street, Riverside, CA 92501-3801

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 1           PLEASE TAKE NOTICE that, on Friday, December 8, 2023, at 2:00 p.m.,
 2     in the United States District Court, 3470 Twelfth Street, Riverside, California
 3     92501-3801, Courtroom 2 (2nd Floor), and before the Honorable Sunshine
 4     Suzanne Sykes, United States District Judge, Defendant Julie Carrigan in her
 5     individual capacity will, and hereby does, move the Court, pursuant to Federal
 6     Rule of Civil Procedure 6(b)(1)(A), for an extension of time in which to respond to
 7     Plaintiffs’ First Amended Complaint. Dkt. 190 (“FAC”). As Carrigan’s counsel
 8     was served with the FAC on October 16, 2023, her response is presently due by
 9     November 6, 2023. See Dkts. 189, 191. Defendant Carrigan respectfully requests
10     the Court to extend that deadline by two weeks to November 20, 2023.
11           Defendant Carrigan includes with this motion a supporting memorandum
12     below. And as required by Local Rule 7-3, she files this motion following a
13     November 3-4, 2023 conference in which her undersigned counsel and Plaintiff
14     Cindy Russo, pro se, thoroughly discussed the substance of the motion and any
15     potential resolution but were unable to resolve it. According to Ms. Russo,
16     “Plaintiffs’ position is that Defendants, other than the Airline Defendants, already
17     missed the deadline, and Plaintiffs will not agree to any extension.” That was the
18     same position that Ms. Russo took during a Zoom conference on October 24, 2023,
19     in which all pro se Plaintiffs and counsel for all Defendants appeared to discuss the
20     Defendants’ forthcoming motions to dismiss the FAC.
21                                            Respectfully submitted,
22                                            BRIAN M. BOYNTON
23                                            Principal Deputy Assistant Attorney General

24                                            C. SALVATORE D’ALESSIO, JR.
                                              Director, Torts Branch
25
26                                            MARY HAMPTON MASON
                                              Senior Trial Counsel, Torts Branch
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 6     DATED: November 4, 2023            Email: jeremy.brumbelow@usdoj.gov

 7                                        Counsel for Defendant Julie Carrigan in
                                          her individual capacity
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 1            MEMORANDUM IN SUPPORT OF DEFENDANT CARRIGAN’S
                       MOTION TO EXEND DEADLINE
 2
 3           Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Defendant Julie
 4     Carrigan, in her individual capacity, respectfully seeks a two-week extension of her
 5     current deadline by which to respond to Plaintiffs’ First Amended Complaint. Dkt.
 6     190 (“FAC”). In support of this requested relief, Carrigan states as follows:
 7           1. In the original complaint, Carrigan was personally sued on one count by
 8     one plaintiff, i.e., Plaintiff Uri Marcus, in regard to the revocation by the
 9     Transportation Security Administration (“TSA”) of Mr. Marcus’s eligibility to
10     participate in the TSA PreCheck® Application Program (“TSA PreCheck”). See
11     Compl. (Dkt. 1) at p. 120, ¶¶ 889-90 (alleging in Count 19 that the revocation was
12     retaliatory in violation of the First Amendment and seeking damages from
13     Carrigan, personally, under Bivens v. Six Unknown Named Agents of Federal
14     Bureau of Narcotics, 403 U.S. 388 (1971)). Carrigan sought dismissal on multiple
15     grounds under Federal Rule of Civil Procedure 12(b), see Dkts. 133, 133-1, & 166,
16     and, on February 21, 2023, was dismissed without prejudice for lack of personal
17     jurisdiction. Dkt. 177 at 14-15, 28.
18           2. In the parties’ Joint Status Report filed on September 8, 2023, the
19     Plaintiffs “formally notif[ied] the Court of the passing of Mr. Uriel Marcus,
20     Plaintiff,” and suggested that any future litigation of this case might not involve
21     Mr. Marcus’s individual-capacity claim against Carrigan. Dkt. 186 at 7. To date,
22     no motion has been filed under Federal Rule of Civil Procedure 25(a), seeking to
23     substitute the estate of Mr. Marcus as plaintiff to his individual-capacity claim
24     against Carrigan. Thus, to date, there has been no judicial determination of
25     whether Mr. Marcus’s claim against Carrigan (or, indeed, any claim of his against
26     any Defendant) abates or survives his death.
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 1           3. Nevertheless, the FAC repleads the same First Amendment Bivens claim
 2     against Carrigan concerning the revocation of Mr. Marcus’s TSA PreCheck status,
 3     see FAC at pp. 203-06, ¶¶ 1349-62 (Count 28), but with his wife, Plaintiff Yvonne
 4     Marcus, purporting to assert that claim “as Administrator” of her late husband’s
 5     “estate,” id. ¶ 21; see also id. at p. 219 (where, in signature block, Ms. Marcus
 6     refers to herself “as Administrator” of “[t]he Estate of Uri Marcus, plaintiff”). And
 7     for the first time in this case, all Plaintiffs appear to sue Carrigan—in her
 8     individual capacity and in connection with the now-rescinded masking and testing
 9     requirements—on four counts that are asserted against “All Defendants” but that
10     describe no personal involvement by Carrigan in those matters. See FAC at pp.
11     115-17, ¶¶ 828-41 (Count 11, 42 U.S.C. § 1983); id. at pp. 117-26, ¶¶ 842-91
12     (Count 12, 42 U.S.C. § 1985); id. at pp. 126-29, ¶¶ 892-908 (Count 13, 42 U.S.C. §
13     1986); id. at pp. 129-34, ¶¶ 909-35 (Count 14, Rehabilitation Act).
14           4. As Carrigan’s counsel was served with the FAC on October 16, 2023, her
15     response is presently due by November 6, 2023. See Dkts. 189, 191. As with the
16     original complaint, Carrigan will move to dismiss the FAC on multiple legal
17     grounds under Rule 12(b). Her undersigned counsel, however, has been unable to
18     work on that motion until this past week, as he was on previously approved annual
19     leave for several work days during the weeks of October 16 and October 23 (for a
20     friend’s wedding in Texas) and took unplanned sick leave for three work days
21     during that period. He also attended previously scheduled work-related training
22     the week of October 16 (including one day as a presenter).
23           Although a draft motion is now underway, undersigned counsel will not be
24     able to complete the motion in time for filing by the current deadline. Additional
25     time is thus necessary so that counsel can (1) adequately review the Plaintiffs’
26     voluminous pro se filing (the FAC and its exhibits exceed 900 pages, see Dkts.
27     190, 190-1, 190-2); (2) re-urge the defenses that Carrigan raised previously in
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 1     regard to Mr. Marcus’s First Amendment Bivens claim (lack of personal
 2     jurisdiction, venue, and subject-matter jurisdiction; the unavailability of a Bivens
 3     remedy; and qualified immunity); and (3) address the multiple issues raised by the
 4     FAC for the first time in this litigation, including the survivability of Mr. Marcus’s
 5     claim(s) against Carrigan, whether his “estate” is a proper plaintiff (whether
 6     through Ms. Marcus or otherwise) absent a Rule 25(a) substitution order, and the
 7     available defenses to the additional claims newly asserted against Carrigan,
 8     apparently by all Plaintiffs, under the Rehabilitation Act and Sections 1983, 1985,
 9     and 1986 (all issues that Carrigan has not had occasion to brief in this case). Given
10     the complexity of all of these issues, and the need for significant pre-filing review
11     once a draft is completed in the coming days, Carrigan respectfully requests that
12     her response deadline be extended by two weeks, i.e., from November 6, to
13     November 20, 2023.
14           5. This is Defendant Carrigan’s first extension request with respect to her
15     response to the FAC. Her current deadline has not yet expired, and she does not
16     seek this extension for any improper purpose such as harassment or undue delay.
17           6. Defendant Carrigan includes a separate proposed order as an attachment
18     to this motion.
19           WHEREFORE, for the foregoing reasons that establish good cause for the
20     relief sought herein, Defendant Carrigan, in her individual capacity, respectfully
21     requests that she be granted an extension to November 20, 2023, by which to file a
22     motion to dismiss the claims asserted against her in the FAC.
23
                                               Respectfully submitted,
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                                               BRIAN M. BOYNTON
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                                               Principal Deputy Assistant Attorney General
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                                               C. SALVATORE D’ALESSIO, JR.
27                                             Director, Torts Branch
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       DATED: November 4, 2023            Email: jeremy.brumbelow@usdoj.gov
 8
 9                                        Counsel for Defendant Julie Carrigan in
                                          her individual capacity
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 1                              CERTIFICATE OF SERVICE
 2           I hereby certify that on this day, November 4, 2023, I electronically filed the
       foregoing document with the Clerk of the Court using CM/ECF.
 3
 4                                            JEREMY SCOTT BRUMBELOW
                                              /s/ Jeremy Scott Brumbelow
 5                                            Senior Trial Attorney, Torts Branch
 6                                            U.S. Department of Justice, Civil Division

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